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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS


 DAO HEALTH, a California Corporation,                Case No. 1:23-cv-04885

               Plaintiff,
        vs.                                           JURY TRIAL DEMANDED

 SHENZHEN LUTEJIANCHENG
 TECHNOLOGY CO., LTD., a/k/a SHENZHEN
 ROOT E-COMMERCE CO., LTD., a China
 Limited Company,

               Defendant.

                 JOINT SUBMISSION AND [PROPOSED] ORDER ON
              DEADLINE TO RESPOND TO THE AMENDED COMPLAINT

       Plaintiff Dao Health and Defendant Shenzhen Lutejiacheng Technology. Co., Ltd. a/k/a

Shenzhen Root E-Commerce Co., Ltd. d/b/a Momcozy (“Momcozy”) by and through their

undersigned attorneys, hereby jointly agree to modify Defendant Momcozy’s time to respond

under Fed. R. Civ. P. 15(a)(3) and stipulate that Momcozy shall have twenty-one (21) days from

the date of filing of Dao Health’s Amended Complaint for Patent Infringement (“Amended

Complaint”) to answer or otherwise respond to the Amended Complaint.


Date: March 1, 2024

 Respectfully submitted,

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SO ORDERED, THIS ____ DAY OF _______________ 2024




                                    _______________________________________________
                                    Hon. Thomas M. Durkin, U.S.D.J.


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